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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                              MINUTES OF PROCEEDINGS

 TRENTON                                                           March 26, 2021
 OFFICE                                                            DATE OF PROCEEDINGS

 JUDGE: TONIANNE BONGIOVANNI
 DIGITALLY RECORDED



 TITLE OF CASE:                                                    CV-13-2941 (MAS)

 LAURENCE KAPLAN,
      V.
 SAINT PETER’S HEALTHCARE SYSTEM, et al.,

 APPEARANCES:

 Jaime Bowers, Esq., Karen Handorf, Esq., & Scott Lempert, Esq., for Plaintiff
 Jeffrey Greenbaum, Esq., & Katherine Lieb, Esq., for Defendants’


 NATURE OF PROCEEDING:

 Telephone conference held regarding discovery.
 The deposition of Garrick Stoldt, CFO of St. Peter’s, is to be conducted. In advance of the
 deposition, the parties are to confer regarding redacted materials produced by Defendants during
 discovery. If unresolved issues remain, informal submissions are to be presented to the Court by
 email to tjb_orders@njd.uscourts.gov.


 TIME COMMENCED:        11:00 a.m.
 TIME ADJOURNED:        12:35 p.m.                             s/ Mark Morelli
 TOTAL TIME: 1 Hour & 35 Minutes                               Deputy Clerk
